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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                          Case No. 9:19-cv-81160

   APPLE INC.,

                       Plaintiff,

           v.

   CORELLIUM, LLC,

                       Defendant.


                 PROPOSED ORDER GRANTING PLAINTIFF APPLE INC.’S
                MOTION IN LIMINE TO PRECLUDE REFERENCE TO CERTAIN
                  ALLEGED USES OF THE CORELLIUM APPLE PRODUCT

           THIS CAUSE comes before the Court on Plaintiff Apple Inc.’s Motion in Limine to

   Preclude Reference to Certain Alleged Uses of, the Corellium Apple Product (“Motion”). Being

   fully advised in the premises, it is

           ORDERED AND ADJUDGED that the Motion is hereby GRANTED. Defendant

   Corellium, LLC’s counsel and witnesses are hereby barred from introducing evidence regarding,

   or referencing, any alleged uses of the Corellium Apple Product by                         or

   representing that the Corellium Product serves a national security purpose.

           DONE AND ORDERED in Fort Lauderdale, Florida, this __ day of August, 2020.

                                                 _________________________________
                                                 RODNEY SMITH
                                                 UNITED STATES DISTRICT JUDGE
